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 11
 12 Attorneys for Plaintiff,                  Attorneys for Defendant,
    Jeremy Klein                              Hyundai Capital America,
 13                                           d/b/a Hyundai Motor Finance
 14
 15                           UNITED STATES DISTRICT COURT
 16                          CENTRAL DISTRICT OF CALIFORNIA
                                   SOUTHERN DIVISION
 17
 18 Jeremy Klein,                             ) Case No.: 8:16-cv-01469-JLS-JCG
                                              )
 19                                           ) STIPULATION OF DISMISSAL
                Plaintiff,
 20                                           )
                                              )
 21 vs.                                       )
 22                                           )
      Hyundai Capital America d/b/a Hyundai   )
 23                                           )
      Motor Finance,
 24                                           )
                Defendant.                    )
 25                                           )
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  1
            Plaintiff Jeremy Klein and defendant Hyundai Capital America, doing business
  2
      as Hyundai Motor Finance (“HCA”), by and through their undersigned counsel,
  3
      submit this Stipulation of Dismissal pursuant to the Court’s Order Regarding
  4
      Stipulation to Dismiss Case (ECF No. 61).
  5
            A copy of the parties’ Settlement Agreement and General Release (“Settlement
  6
      Agreement”) dated as of July 25, 2017, is attached as Exhibit A and filed under seal.
  7
      Id.
  8
            The parties hereby stipulate and agree as follows:
  9
            1.     Plaintiff filed his class action complaint on August 9, 2016. The
 10
      proposed class has not been certified. The parties resolved this putative class action on
 11
      an individual basis under the terms and conditions set forth in the Settlement
 12
      Agreement. See Exhibit A.
 13
            2.     “To determine whether pre-certification settlement or dismissal is
 14
      appropriate, the Court must assess potential prejudice to the absent putative class
 15
      members from: (1) ‘possible reliance on the filing of the action if they are likely to
 16
      know of it either because of publicity or other circumstances’; (2) ‘lack of adequate
 17
      time for class members to file other actions, because of a rapidly approaching statute
 18
      of limitations’; and (3) ‘any settlement or concession of class interests made by the
 19
      class representative or counsel in order to further their own interests.’” Tombline v.
 20
      Wells Fargo Bank, N.A., No. 13-cv-04567-JD, 2014 WL 5140048, at *2 (N.D. Cal.
 21
      Oct. 10, 2014) (quoting Diaz v. Trust Territory of Pac. Islands, 876 F.2d 1401, 1408
 22
      (9th Cir. 1989)) (recognizing that, based on 2003 amendments to Fed. R. Civ. P. 23,
 23
      there is “‘some uncertainty’ about the continued application of Rule 23(e) to pre-
 24
      certification settlement proposals”). The purpose of analyzing these so-called Diaz
 25
      factors “is to ‘determine whether the proposed settlement and dismissal are tainted by
 26
      collusion or will prejudice absent putative members.’” Id. (quoting Lyons v. Bank of
 27
 28
                                                  2
                                                                    STIPULATION OF DISMISSAL
                                                                    Case No: 8:16-cv-01469-JLS-JCG
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      America, NA, No. C 11-1232 CW, 2012 W L 5940846, at *1 (N. D. Cal. Nov. 27,
  2
      2012).
  3
            3.      As to the first Diaz factor, the parties represent that they know of no
  4
      absent putative class members who are relying on the pendency of this putative class
  5
      action. Media attention regarding the action has been sparse. Shortly after the action
  6
      was filed, two articles were published: the first on August 10, 2016, on a legal
  7
      website, and the second on August 15, 2016, on a consumer-information website.1
  8
      The latter article appears to have received only one comment, dated August 17, 2016.
  9
      In addition, plaintiff’s counsel maintained a case specific website,2 which has since
 10
      been deactivated. Plaintiff is not aware of any other media attention and has not
 11
      received any inquiries from consumers regarding the action.
 12
            4.      As to the second Diaz factor, the pendency of this putative class action
 13
      tolled the statute of limitations applicable to any individual or class claims based on
 14
      the same facts and circumstances. See, e.g., Resh v. China Agritech, Inc., 857 F.3d
 15
      994, 1005 (9th Cir. 2017). Thus, should the Court approve this Stipulation of
 16
      Dismissal, the unnamed putative class members will be in the same position as they
 17
      were at the time plaintiff filed his class action complaint.
 18
            5.      As to the third Diaz factor, the Settlement Agreement does not resolve or
 19
      concede any class interest nor demonstrate collusion to the detriment of the putative
 20
      class. The settlement is structured as an individual resolution of plaintiff’s claims.
 21
      Plaintiff ultimately did not seek to serve as a class representative, nor was he certified
 22
      as a class representative. Thus, plaintiff was not empowered to, could not, and did not
 23
      seek to settle or resolve class claims. The terms and conditions of the Settlement
 24
 25         1  See https://www.law360.com/articles/826802/hyundai-motor-finance-hit-
 26 with-tcpa-class-action (last visited September 5, 2017); https://topclassactions.com/
    lawsuit-settlements/lawsuit-news/341992-hyundai-class-action-alleges-tcpa-auto-dial-
 27 violations (last visited Sep. 5, 2017).
 28         2   https://www.lemberglaw.com/klein-v-hyundai-capital-america/.
                                                   3
                                                                     STIPULATION OF DISMISSAL
                                                                     Case No: 8:16-cv-01469-JLS-JCG
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  1
      Agreement did not release claims of unnamed putative class members nor prejudice
  2
      their rights. See, e.g., Exhibit A ¶ 6.
  3
             6.     Based on the Diaz factors, as described above, the terms and conditions
  4
      of the Settlement Agreement, the absence of any collusion, and the lack of prejudice
  5
      to unnamed putative class members, the parties do not believe that it is necessary to
  6
      notify any such class members of the settlement.
  7
             WHEREFORE, the parties request that the Court enter the attached order
  8
      (1) dismissing plaintiff’s individual claims with prejudice; and (2) dismissing
  9
      plaintiff’s class claims without prejudice.
 10
 11
      Dated: September 11, 2017
 12
 13    Plaintiff                                    Defendant
 14    __/s/ Stephen F. Taylor______                /s/ Terese A. West
       Stephen Taylor                               John P. Boyle, (pro hac vice)
 15    Attorney for Plaintiff                       Terese A. West (pro hac vice)
 16                                                 MOSS & BARNETT
       Plaintiff                                    A Professional Association
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                                                    150 South Fifth Street, Suite 1200
       __/s/ Trinette G. Kent_______
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       Attorney for Plaintiff
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                                                    Santa Ana, California 92707
 22                                                 Attorneys for Defendant
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                                                                     STIPULATION OF DISMISSAL
                                                                     Case No: 8:16-cv-01469-JLS-JCG
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  1                            CERTIFICATE OF SERVICE
  2
           I HEREBY CERTIFY that on September 11, 2017, a copy of the foregoing
  3 Stipulation of Dismissal was served electronically by the U.S. District Court Central
  4 District of California Electronic Document Filing System (ECF) and that the
    document is available on the ECF system.
  5
  6
                                               By: /s/ Terese A. West
  7                                            Terese A. West, Esq.
  8                                            MOSS & BARNETT
                                               A Professional Association
  9                                            Attorneys for Defendant
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                                                                 STIPULATION OF DISMISSAL
                                                                 Case No: 8:16-cv-01469-JLS-JCG
